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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
       v.                                     :      Criminal No. 19-CR-00125 (ABJ)
                                              :
GREGORY B. CRAIG                              :
                                              :
                       Defendant.             :


                         GOVERNMENT’S NOTICE OF FILING
                     PURSUANT TO COURT’S SCHEDULING ORDER

       The United States of America, by and through its undersigned counsel, hereby submits a

notice of filing to inform the Court that it is the government’s position that an order under Local

Rule 57.7(c) is not necessary in this case.

       In addition, it is the government’s position that a juror questionnaire is not necessary.

While the government understands that this case has drawn and will likely continue to attract media

attention, the government is confident that the Court can add a question or questions to its regular

voir dire process to elicit the necessary information about potential media exposure and allow for

a complete assessment of the members of the jury pool for their potential service in this case.

                                       Respectfully submitted,

                                       JESSIE K. LIU
                                       UNITED STATES ATTORNEY
                                       D.C. Bar Number 472845


                                   By: /s/ Fernando Campoamor-Sanchez
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 23rd day of April 2019, I served a copy of the foregoing Notice
of Filing to counsel for Mr. Gregory B. Craig through the Court’s electronic filing system.

                                                                    /s/
                                                              Fernando Campoamor-Sánchez

 




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